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                                              STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                           DIVISION OF SOCIAL JUSTICE
ATTORNEY GENERAL                                                                             CIVIL RIGHTS BUREAU

                                                                            January 18, 2022
      By Electronic Filing

      Hon. Gabriel W. Gorenstein, U.S.M.J.
      United States District Court, Southern District of New York
      Daniel Patrick Moynihan Courthouse, 500 Pearl Street
      New York, New York 10007

                 Re:      In re: New York City Policing During Summer 2020 Demonstrations,
                          No. 20-CV-8924
                          This Letter is Related to All Cases

      Dear Judge Gorenstein:
      We write on behalf of Plaintiffs in these consolidated cases regarding Defendants’ ongoing failure
      to fully respond to Plaintiffs’ First Consolidated Set of Interrogatories and Requests for Production
      of Documents (the “First Requests” – attached as Ex. 1), which Plaintiffs served on Defendants
      on March 25, 2021. Plaintiffs ask that this Court hold a conference and take all necessary steps to
      ensure that Defendants timely comply with their obligations to search for, collect, and produce by
      a date certain, all documents responsive to the First Requests.
      Plaintiffs also note that Defendants’ continued unreasonable delay of discovery poses substantial
      risks to the agreed-upon discovery schedule. As set out below, despite clear directions from the
      Court to move quickly, it took more than a month for Defendants to schedule enough meet and
      confer time to make it through the small fraction of issues we did — and Defendants still have not
      produced or identified what searches they’ve conducted for any documents in the majority of
      categories identified by Plaintiffs in September of last year as missing. Plaintiffs note this because
      if they cannot get the documents they were supposed to have by July 31 of last year well before
      higher-level depositions start just weeks from now, more disputes and, inevitably, more delays
      will surely follow.
                 I.       SUMMARY OF THE PARTIES’ CONFERRALS

      At a conference on October 19, 2021, your honor directed the Parties to confer “as soon as
      possible” (Oct. 19, 2021 Tr., 19:10-11) on the substance of Plaintiffs’ September 10 letter to
      Defendants (Ex. 2), in which Plaintiffs raised the concern that Defendants had failed to respond to
      dozens of items sought in the First Requests and, instead, merely reproduced certain materials that
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had previously been collected and provided in 2020 to the New York City Department of
Investigation (“DOI”) and the New York State Office of the Attorney General (“OAG”).
Defendants admitted that they had “initiated comprehensive searches for additional responsive
materials” and that “production of many categories of materials [was] pending,” (ECF No. 283, at
2), but provided no assurance in their papers or at the conference as to the date by which they
would complete those searches and produce all responsive documents.
Now, some three months later, that conferral process has largely fallen apart, and Defendants have
provided no date certain by which they will produce outstanding materials. In the last few weeks,
Plaintiffs have returned to court several times to seek orders compelling Defendants to produce
narrower categories of relevant discovery responsive to the First Requests that they admittedly
possessed but had not yet produced. See, e.g., ECF No. 331 (aviation footage); ECF No. 341
(documents relating to prior protest events). But the fact remains: Defendants have yet to produce
(and in many cases, even fully search for) a wide range of responsive materials. In short,
Defendants still have not even searched for most of the documents that should have been produced
in July of last year.
Despite several hours-long conferrals and multiple requests for written follow-up, Plaintiffs have
yet to receive from Defendants meaningful and complete answers to the status of Defendants
searches for most of the categories of documents enumerated in their September 10 letter. And for
those categories for which they have provided information, Defendants have yet to provide a date
certain by which they will produce any documents. Indeed, aside from the previously ordered ESI
productions and a handful of small productions of specific documents related to scheduled
depositions, Defendants’ only substantial production since July 31, 2021 has been a tranche of
long-promised training documents, certain documents that Plaintiffs called for at depositions held
weeks or months ago, and a scattershot of additional documents (that should have been produced
by the July 31 deadline).
Most of the categories of documents from Plaintiffs’ September 10 letter remain outstanding, and
Plaintiffs’ attempts to pry basic information about the status of Defendants’ searches for them have
been met with Defendants’ ongoing obfuscation at each attempted conferral. In an attempt to close
this gap, Plaintiffs’ counsel emailed counsel for Defendants on December 2 a list of promised
productions that Defendants had not yet provided, and outstanding questions regarding the status
of Defendants’ searches for many of the categories of documents from Plaintiffs’ September 10
Letter. See Ex. 3. This inquiry included a bullet point list of 14 outstanding items on which
Defendants had previously promised to follow up, and attached a table requesting information on
15 items about which Defendants had yet to provide any update. See id.
Nearly two weeks later, Defendants sent a series of emails providing the following minimal
updates to Plaintiffs: that a production of training documents promised months ago was nearly
ready for production, that command logs from arrest processing centers had finally been searched
for and collected, and that certain arrest-related documents about which Plaintiffs had inquired
purportedly did not exist or had already been destroyed. See Ex. 4. As for the remainder of
Plaintiffs’ inquiries, Defendants stated that “several documents are being prepared for production,
and will be produced shortly. . . . and [unspecified] documents responsive to additional responses
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[] are/will be contained in the email productions from the NYPD.” Id. Counsel promised to
“continue to keep [Plaintiffs] updated.” Id. Since mid-December, no further updates have come
about the status of numerous items about which Plaintiffs inquired, including, but not limited to,
the following items:
 Discovery Request                                Last Status Update from Defendants
 Request No. 8(h) - All videos, including         Regarding TARU videos, Defendants
 TARU videos, body-worn camera videos, and        produced some TARU videos but have not
 Aviation Unit videos                             confirmed they have produced all or what their
                                                  search for videos entailed.

                                                  The parties met and conferred regarding
                                                  ARGUS video last year and agreed that
                                                  plaintiffs would provide maps showing the
                                                  geographic area of the protests they would like
                                                  to prioritize Defendants’ search and the
                                                  attendant time span. Plaintiffs provided an
                                                  initial cache of protest maps to Defendants on
                                                  December 15, 2021, but have received no
                                                  response from Defendants. Plaintiffs requested
                                                  a meet and confer on this issue on January 11,
                                                  2021 but Defendants have not responded to
                                                  that request.

                                                  Further issues regarding Defendants’ response
                                                  to Plaintiffs’ request for body-worn camera
                                                  footage is detailed below.
 Request No. 8(j) - Written reports of            This request seeks ICAD/SPRINT reports –
 dispatch/radio calls during protests             which are in sum time-stamped event
                                                  chronologies that are recorded in code - related
                                                  to recorded NYPD communications and
                                                  documents necessary to read and understand
                                                  those reports. Plaintiffs have explained to
                                                  Defendants that while they are in possession of
                                                  a handful of these reports, they have not
                                                  received them for all protests listed on
                                                  Schedule A. Defense counsel has confirmed
                                                  that it is in possession of additional responsive
                                                  documents for this request but it has not
                                                  produced those documents to Plaintiffs or
                                                  offered any detail on which events the
                                                  withheld documents pertain to.
 Request No. 8(n) – MAPC intake processing        Defendants have not provided any
 records                                          information regarding the search, collection,
                                                  or production of these records.
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 Request No. 8(o) – Arrests by Officers based  Defendants have not provided any
 on alleged conduct at Protests and Arrests    information regarding the search, collection,
 voided by the NYPD                            or production of these records.
 Request Nos. 9(e) – Prisoner Pedigree Card    Defendants have claimed that this information
 documents (PD244-092)                         is on the MAPC command logs but have
                                               provided no other information about whether
                                               these documents exist or have been searched
                                               for or collected.
 Request No. 9(f) – Arrest processing          As part of the NYPD large-scale arrest
 photographs                                   processing Defendants employed, Defendants
                                               created numerous digital photographs of each
                                               arrestee, as well as photographs of each
                                               arrestee with the NYPD member(s) associated
                                               with them. Such photographs are routinely
                                               preserved and produced in criminal defense
                                               cases and civil litigation. Defendants have
                                               produced almost none of the thousands of
                                               arrest processing photographs that were taken
                                               related to the Protests. Defense counsel has
                                               asserted that all such arrest processing photos
                                               were destroyed, but has not provided any
                                               details regarding the reason for that assertion
                                               or the circumstances surrounding, or
                                               protocols for, deletion of such photographs.
 Request No. 9(g) – Mass Arrest Pedigree       Defendants have claimed that this information
 Label documents (NYPD244-093)                 is on the MAPC command logs but have
                                               provided no other information about whether
                                               these documents exist or have been searched
                                               for or collected.
 Request No. 9(i) – Complaint worksheets and No update provided.
 related documents
 Request No. 9(j) – Online Prisoner            No update provided.
 Arraignment Reports
 Request No. 9(k)-(l) – Records reflecting     No update provided.
 handling and disposition of arrestee property
 Request No. 9(q)-(r) – Desk Appearance        No update provided.
 Tickets and related records
 Request No. 10 – Stop reports                 No update provided.




In addition, Plaintiffs requested but have received no information from Defendants on whether and
how they have sought to supplement the following categories of documents, which thus far have
only included documents previously collected and provided to OAG/DOI during their 2020
investigations:
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 RFP No.     Specific Documents Requested
 8(a)        Intelligence reports, threat assessments, and information compiled and/or reviewed
             in advance of and during the Protests, including all Documents reflecting Officers’
             planning for policing the Protests, and any spreadsheets or other lists of
             “scheduled” and “unscheduled” events during the time period surrounding each
             Protest.
 8(c)        News clips, social media postings, and internet links gathered by the NYPD,
             including but not limited to such information and records gathered or created by
             the Office of the Deputy Commissioner for Public Information, the Intelligence
             Division, or otherwise, related to any Protest.
 8(d)        Requests for detail, Operations Unit (including Detail Section) records, “204s”,
             “Who’s Who,” “Force Figures,” “Detail Overview,” roll calls, tactical plans, detail
             rosters, assignment sheets, internal communications, and other documents)
             concerning NYPD’s deployment or assignment of Officers and resources relating
             to the Protests.
 8(e)        Command Log(s) and other records created as a result of or related to the operation
             any Incident Command Post utilized in connection with policing a Protest.
 8(f)        Records reflecting whether and, if so, by whom, when, and to what extent, dispersal
             orders or other warnings and opportunities to disperse or comply were given before
             enforcement action was taken at each Protest where force was used or detentions
             or Arrests were made.
 8(l)        TRI Reports, and any and all Incident Worksheets (PD370-154), and any and all
             TRI Incident-Investigating Supervisor’s Assessment Reports (PD370-154A), any
             and all TRI Interaction Reports, all Unusual Incident Reports, including any and
             all other Documents relating to such reports and worksheets.
 9(c)        Online Booking System Arrest Worksheet (PD244-159) (including
             handwritten/scratch version).
 11          Mass Arrest Reports.
 14          Documents concerning incidents under investigation by Defendants.
 22          Documents pertaining to the Corporation Counsel report.
 17, 30, 31, These requests variously seek responsive complaint and disciplinary records.
 35          Defense counsel has claimed that any responsive records sought here would be
             included in the IAB and CCRB productions that Defendants have previously
             produced. Plaintiffs, however, explained in their September 10 letter that
             Defendants’ productions from IAB files merely reproduced productions made to
             the OAG or DOI in 2020 – meaning they have been limited to records that were
             extant a few weeks after the Protests had taken place. Defendants have
             subsequently refused to explain what, if any, steps they have taken to search for
             documents responsive to these requests that were not searched for, collected, and
             produced to the OAG or DOI in 2020, including but not limited to the many
             missing IAB records, and any other such documents pertaining to protests on
             Plaintiffs’ Schedule A occurring after the time of the OAG and DOI productions.
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Similarly, Defendants are still delaying the necessary meet and confers regarding the metadata for
the body worn camera videos, known as the audit trail logs. Plaintiffs moved to compel production
of the audit trail logs on August 23, 2021. See Dkt. No. 242. Defendants objected by claiming
that it was too burdensome to produce these logs, and the Court Ordered a meet and confer on the
issue and encouraged the Defendants to bring someone who knew the technology to assist the
conversation. See Dkt. No. 252. Defendants did, and during the conversation an NYPD officer
who handles body worn camera productions admitted that the audit trail logs could be downloaded
and produced in bulk. Defendants withdrew their objection as to burden, but still refused to
produce the audit trail logs, now claiming they are not relevant. Plaintiffs dispute this, but to help
resolve the dispute, proposed having the NYPD produce three example audit trail logs for three
videos chosen by Plaintiffs, so the parties could have a more concrete discussion. Defendants
agreed, and Plaintiffs provided three examples on September 16, 2021. But months have gone by
and Defendants have still not provided the example logs they promised, despite multiple emails
reminding them. They should be Ordered to produce these example audit trail logs within a week,
and further Ordered to meet and confer regarding the audit trail logs shortly after. Defendants
have recently produced hundreds of body worn camera files, some they produced before and some
new, with no way to sort out which is which. The audit trail logs are key to sorting out this massive
amount of video.
Finally, on Thursday, January 13, pursuant to the procedure set out in ECF 317, Plaintiffs sent a
draft of this letter motion to Defendants, providing them with another opportunity to meet and
confer on these issues. Though the 24-hour period set out in ECF 317 expired on Friday,
Defendants have not yet responded in any way.
         II.   THE COURT SHOULD ORDER DEFENDANTS TO PRODUCE ALL
               OUTSTANDING DOCUMENTS BY A DATE CERTAIN AND FULLY
               DISCLOSE WHETHER ANY SEARCHES REMAIN OUSTANDING

Defendants should be ordered to immediately produce those documents in their possession which
they have already agreed to disclose and to meaningfully engage in the collection, review, and
production of responsive documents covered by any other outstanding items in the Plaintiffs’ First
Requests as soon as practicable. Any further delay from Defendants in producing responsive
documents, or even in articulating appropriate, specific objections, would further prejudice
Plaintiffs’ efforts to prepare for rapidly approaching depositions and ultimately ready their cases
for trial.
Plaintiffs understand that this letter exceeds the five-page limit from Your Honor’s rules, but
respectfully request that you nevertheless accept it due to the number of outstanding items
addressed above.
                                                  Sincerely,


                                                  /s/ Conor Duffy

                                                  Conor Duffy, Assistant Attorney General
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                                       Office of the New York State Attorney General
                                       Civil Rights Bureau


CC: All counsel of record
